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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for CHARLES GOODMAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                 ) No. 17-23 TLN
 8
                     Plaintiff,                    )
 9                                                 ) STIPULATION AND
            v.                                     ) ORDER FOR A NEW SENTENCING DATE
10                                                 ) FOR Mr. GOODMAN OF
                                                   ) July 18, 2019
11
     CHARLES GOODMAN,                              )
12
                                                   )
                     Defendant.                    ) Judge: Hon. Troy L. Nunley
13   ================================)
14          Defendant Charles Goodman is requesting a continuance of his sentencing hearing, which is
15   presently set for May 16, 2019, to a new date of July 18, 2019. Mr. Long is continuing to gather
16   information to be used in the sentencing hearing. Mr. Long will be in the People v. Charles
17   Goodman homicide jury trial in Sacramento County Superior Court from May 7, 2019, through the
18   end of June, 2019. AUSA Jason Hitt, on behalf of the United States Attorney’s Office, and USPO
19   Lynda Moore, on behalf of the United States Probation Office, have no objection to the requested
20   continuance.
21   Dated: April 26, 2019                                Respectfully submitted,
22
                                                          /s/ Michael D. Long
23                                                        MICHAEL D. LONG
                                                          Attorney for Charles Goodman
24

25   Dated: April 26, 2019                                McGREGOR SCOTT
                                                          United States Attorney
26
                                                          /s/ Jason Hitt
27
                                                          JASON HITT
28                                                        Assistant U.S. Attorney



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 1
                                               ORDER
 2

 3          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.

 4          The Court hereby orders that the schedule for Mr. Goodman’s sentencing shall be heard
 5   on the new date of July 18, 2019.

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 7
     Dated: April 26, 2019
 8
                                                       Troy L. Nunley
 9                                                     United States District Judge
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